
93 N.Y.2d 882 (1999)
THOMAS A. HELGANS, Individually and as Administrator of the Estate of KATHLEEN A. HELGANS, Deceased, Appellant,
v.
ARTHUR PLURAD et al., Respondents.
Court of Appeals of the State of New York.
Submitted March 29, 1999.
Decided April 1, 1999.
Appeal, insofar as taken from that part of the Appellate Division order that affirmed that portion of Supreme Court's order denying appellants' motion to amend the complaint, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such portion of the order appealed from does not finally determine the action within the meaning of the Constitution; *883 appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
